      Case 1:14-cv-09148-AT-BCM Document 152 Filed 09/17/20 Page 1 of 1


                                                                  USDC SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
MARK KUSHNEIR,                                                    DOC #: _________________
                                                                  DATE FILED: __9/17/2020__
                             Plaintiff,

              -against-                                                  14 Civ. 9148 (AT)

THE CITY OF NEW YORK, CHIEF OF                                               ORDER
DEPARTMENT JOSEPH ESPOSITO, and OFFICER
MICHAEL MALDONADO,

                        Defendants.
ANALISA TORRES, District Judge:

       On September 15, 2020, the parties jointly requested an adjournment of the trial currently
scheduled to commence on December 7, 2020. ECF No. 115.

        It is ORDERED that by September 30, 2020, the parties shall submit a further joint letter
stating each party’s position on this action being tried to the Court rather than to a jury.

       SO ORDERED.

Dated: September 17, 2020
       New York, New York
